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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
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In re: SUSAN ELIZABETH RAYWOOD                                        Case No. 19-13220-MAM
                                                                      Chapter 7
__________________Debtor /

                        EMERGENCY HEARING REQUESTED
                    REQUESTED PURSUANT TO LOCAL RULE 9075-1

1. Debtor believes that an exigency exists;

2. The Debtor is attempting to save the equity in her home and currently has the loan listed for
   sale. The Mortgage Creditor’s interests are secured by the additional value of the property in
   excess of the amount owed to the lender.

3. Debtor filed a previous bankruptcy case which was dismissed in 2018 (Case no: 18-17-178-
   EPK).

4. The motion to extend the automatic stay must be heard on or before April 11, 2019.

                 DEBTOR’S MOTION TO EXTEND AUTOMATIC STAY

COMES NOW, the Debtor, SUSAN ELIZABETH RAYWOOD, by and through their
undersigned attorney, pursuant to 11 U.S.C. §362(c)(3)(B), files her Motion to EXTEND
Automatic Stay, and in support thereof would show as follows:

   1. Debtor filed the instant Chapter 7 case on March 13, 2019.
   2. Debtor’s previous case (18-17087-EPK) was dismissed on October 5, 2018.
   3. Debtor intends to work to save the equity in her property listing and selling the property.
   4. Debtor’s homestead property is her sole asset and she is hoping to use any equity realized
       to help her in her financially. Debtor is suffering from a chronic disease and is unable to
       work. Selling the property will provide Debtor with sufficient assets to pay off any
       creditors while at the same time providing a nest egg for her to live on for the near future.
   5. This court has jurisdiction over this matter pursuant to 28 U.S.C. §1334(b), 157(a), and
       362(d) of Title 11, United States Code. Furthermore, this is a core proceeding pursuant
       to 28 U.S.C. §157(b)(2)(G).
   6. Debtors assert that the filing of the current case is in good faith as to those creditors
       which are to be stayed. As such, pursuant to 11 U.S.C. §362(c)(3)(B), the Automatic
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       Stay should be continued during the pendency of this case.
   7. In order to save their homestead property, the automatic stay must be extended.


WHEREFORE, debtor respectfully requests that this Court enter an Order: (1) imposing the
Automatic Stay as to all creditors during the pendency of this case; and (2) any other relief that
this Court deems just and proper.

Dated: April 2, 2019

                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served on April 2, 2019
to all parties on the list to receive e-mail notice / service for this case, via the Notice of
Electronic Filing (which is incorporated here by reference) and all parties on the attached mailing
matrix.

I certify that I am admitted to the Bar of the United States District Court for the Southern District
of Florida and I am in compliance with the additional qualifications to practice in this court set
forth in Local Rule 2090-1(A).


                                                              Respectfully Submitted,


                                                              /s/ Joann M. Hennessey
                                                              Joann M Hennessey
                                                              FBN: 192465
                                                              Debtor’s Attorney
                                                              Civil Justice Advocates, P.L.
                                                              28 West Flagler Street, Suite 608
                                                              Miami, FL 33130
                                                              T:305-639-8791
                                                              F:786-953-5195
                                                              joann@cjapl.com
